            Case 1:21-cr-00161-RBW Document 92 Filed 04/21/22 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

       v.                                             Case No. 21-CR-161 (RBW)

 DUSTIN BYRON THOMPSON,

            Defendant.

               GOVERNMENT’S NOTICE RELATED TO PUBLIC RELEASE
                             OF TRIAL EXHIBITS

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits its position as to the Application for Access to Trial

Exhibits by Press Coalition, Dkt. 90, per the Court’s April 20, 2022 Minute Order. Pursuant to the

procedure outlined in Standing Order 21-28 (BAH) in In re Press Coalition’s Motion for Access

to Video Exhibits and to Set Aside Standing Order No. 21-28, Case No. 21-mc-87, the government

agrees that the trial exhibits admitted into evidence during the trial in this matter can be released.

However, certain admitted exhibits—specifically including at least Exhibits 30 and 100—contain

unredacted personal identifying information. That information had evidentiary value at trial to

identify the individuals to whom the records related, but there is otherwise no need for public

access to that personal identifying information. Therefore, the government would propose that it

be permitted to submit redacted versions of those exhibits (and any others it identifies with the

defendant’s or others’ personal identifying information), redacting only any personal identifying

information such as phone numbers, addresses, or email addresses, to the Press Coalition, should

the Court order such relief.



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          Case 1:21-cr-00161-RBW Document 92 Filed 04/21/22 Page 2 of 2




        The D.C. Circuit has consistently employed the six-factor “Hubbard test” 1 when

determining whether the common-law right of access to judicial records requires those records to

be made available to the public for copying and inspection. Applied in the general context of

exhibits admitted into evidence during trial involving defendants charged with criminal offenses

related to the January 6, 2021 breach of the U.S. Capitol, and absent order of the court, that test

generally weighs in favor of allowing public access to these exhibits. Therefore, the government

does not object to their disclosure, subject to the caveat above about redacting personal identifying

information.



                                                Respectfully submitted,

                                                MATTHEW M. GRAVES
                                                UNITED STATES ATTORNEY



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  The Hubbard test balances the following factors: “(1) the need for public access to the documents
at issue; (2) the extent of previous public access to the documents; (3) the fact that someone has
objected to disclosure, and the identity of that person; (4) the strength of any property and privacy
interests asserted; (5) the possibility of prejudice to those opposing disclosure; and (6) the purposes
for which the documents were introduced during the judicial proceedings.” Leopold v. v. United
States, 964 F.3d 1121, 1131 (D.C. Cir. 2020) (quoting MetLife, Inc. v. Fin. Stability Oversight
Council, 865 F.3d 661, 665 (D.C. Cir. 2017)).
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